Case 1:22-cr-00673-LAK Document 186-4 Filed 08/01/23 Page 1 of 3




                Exhibit D
               Case 1:22-cr-00673-LAK Document 186-4 Filed 08/01/23 Page 2 of 3




AMERICAN FEDERATION
**** •,/ ****
                                   AFGE Local 2005
GOVERNMENT EMPLOYEES

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                       Council of Prison Locals #33, AFL-CIO
                                              100 29th Street
                                        Brooklyn, New York 11232




     DATE: June 23, 2023

     MEMORANDUM FOR: AMY BONCHER, REGIONAL DIRECTOR

     FROM: Rhonda Barnwell, President, AFGE Local 2005 President/ Rhonda Barnwell

     SUBJECT: Unsafe Working Conditions


     The Local has tried diligently to resolve this issue at the local level numerous times and have been
     unsuccessful at every attempt. Though this is an ongoing issue at multiple Bureau of Prisons
     Institutions, it creates a higher risk for staff and inmates alike within a high rise/Detention Center
     setting. As you are aware MDC Brooklyn maintains various levels of inmate offenders, all while
     continuously receiving large volumes of in-transit inmates and new commits daily, as well as court
     appearances and Escorted Hospital trips. The demands of a high transit Institution with little to no
     staff is a violation of Article 27 of the Master Agreement.

     For a multitude of reasons, MDC Brooklyn is and has been severely understaffed for years. The
     current turnover rate for incoming/new Officers is over 50%, and will continue to decline if the
     Northeast Region and or the Director continues to turn a blind eye to what is actually happening in
     New York City, as we can not compete with the pay band of other agencies within the Tri-state area.

     On a daily basis housing units at MDC Brooklyn are left vacated (unmanned by staff) and locked down,
     with the expectation of Management that a single (One) Officer is to make rounds, feed, and perform
     additional correctional duties on the vacated units. Additionally, visiting room staff are required to
     perform the duties of additional officers because the agency refuses to cease legal and social visits
     when there are no staff. The Local is trying to prevent loss of life and or serious physical harm to staff.
     Lest I remind you of the serious staff assault that took place here at MDC Brooklyn around February
     2022, in which Officer A. Flores was physically assaulted by an inmate, who punched him in the mouth
             Case 1:22-cr-00673-LAK Document 186-4 Filed 08/01/23 Page 3 of 3



a n d att e m pt e d t o dr a g hi m d o w n t h e h o usi n g u nit st ars vi a his st a b pr o of v est . As a r es ult of t h e
ass a ult , Mr . Fl or es h a d t o h a v e j a w r e c o nstr u cti o n s ur g er y a n d e v e n t u all y q uit t h e B O P b e c a us e of t h e
s af et y c o n c er ns a n d hi m n ot f e eli n g s u p p o rt e d b y t h e A g e n c y.

D uri n g pr e vi o us L M R M e eti n g s, i nstit uti o n m a n a g e m e nt w as m a d e a w ar e of t h e L o c al ’s c o n c er ns
r e g ar di n g t his c h a n g e i n t h e e m pl o y e es’ w or ki n g c o n diti o ns, t o w hi c h M a n a g e m e nt ’s st at ed “ st aff
w o ul d n ot b e h el d a c c o u nt a bl e if t h er e w as a n ass a ult a n d or l oss of lif e d uri n g t h es e ti m es ” . T his is
u n a c c e pt a bl e as M a n a g e m e nt at t h e l o c al l e v el ar e a w ar e of t h e p ot e nti al h az ar ds ass o ci at e d wit h
r e q uiri n g o n e offi c er t o m ai nt ai n 3 h o usi n g u nits i n a si n gl e s hift , all w hil e b ei n g m a n d at e d wit h littl e
t o n o sl e e p. T his is a vi ol ati o n of t h e C oll e cti v e B ar g ai ni n g A gr e e m e nt a n d Pr o gr a m St at e m e nt
3 0 0 0. 0 3. D o y o u c o nsi d er t hi s a s af e pr a cti c e ? W o ul d y o u w a nt t o w or k u n d er t h es e c o n diti o ns ?

T h e A g e n c y’s a cti o ns ar e i n h u m a n e t o b ot h st aff a n d i n m at es , as t h e i nstit uti o n r e m ai ns l o c k e d d o w n
o n s e v er al o c c asi o ns , w hi c h a n g ers t h e i n m at es a n d h ei g ht e ns t h e i n h er e nt d a n g er f or st aff. C o v er a g e
is s o mi ni m al t h at at ti m es t h er e ar e o nl y 6 st aff m e m b ers a v ail a bl e t o r es p o n d t o b o d y al ar ms, st aff
assists, a n d or i n m at e m e di c al e m er g e n ci es. T his is e s p e ci all y tr u e o n w e e k e n d s a n d h oli d a ys a n d
t h er e is n o l o n g er a n y T D Y st aff t o assist wit h t his b ur d e n.

I n a c c or d a n c e wit h Arti cl e 2 7 of t h e M ast er A gr e e m e nt; t h e E m pl o y er a gr e es t o l o w er t h os e i n h er e nt
h az ar ds t o t h e l o w est p ossi bl e l e v el; t h e e m pl o y er als o a gr e es t o f ur nis h e m pl o y e e’s pl a c es a n d
c o n diti o ns of e m pl o y m e nt t h at ar e fr e e fr o m r e c o g niz e d h az ar ds t h at ar e c a usi n g or ar e li k el y t o
c a us e d e at h or s eri o us p h ysi c al h ar m. F or t h e p ast t w o y e ars M a n a g e m e nt at t h e l o c al l e v el h as
r ef us e d t o utiliz e pr o p os als a n d M e m or a n d u ms fr o m t h e L o c al U ni o n, h e n c e r el yi n g s ol el y o n
m a n d at or y o v erti m e, v ol u nt e er o v erti m e, a n d a u g m e nt ati o n t o m a n a g e m or e t h a n h alf of t h e
c orr e cti o n al s er vi c es r ost er.

T h e a g e n c y as a w h ol e h as f ail e d t o assist M D C Br o o kl y n wit h t h e st affi n g c risis, h e n c e all o wi n g M D C
Br o o kl y n t o f ail. W h at ar e y o u w aiti n g f or , a n ot h er l oss of i n m at e life ? Y o ur i n diff er e n c e a n d
c o nti n u e d fail ur e t o a ct , will bri n g t h e F e d er al B ur e a u of Pris o ns m or e n e g ati v e n ot ori et y .

I n a n eff ort t o m a k e y o u m or e a w ar e of t h es e i n a d e q u a ci es, I h a v e att a c h e d c o pi es o f M D C Br o o kl y n’s
C orr e cti o n al S er vi c e s Rost er .

T h e lo c al u ni o n is r e q u esti n g t h at t h e a g e n c y c e as e a n d d esist wit h f or ci n g st aff m e m b ers t o w or k
m or e t h a n o n e p ost i n a si n gl e s hift. T h e L o c al is als o r e q u esti n g t h at t h e A g e n c y ad h er e t o Arti cl e 6
( b 2), Arti cl e 1 8 (r,s), a n d Arti cl e 2 7 of t h e M ast er A gr e e m e nt a n d pr o vi d e a s af e e n vir o n m e nt f or all
st aff.

T h e L o c al U ni o n is r e q u esti n g t h at w e m e et i n p ers o n t o dis c uss t h es e pr essi n g c o n c er n s a n d d e vis e
c orr e ct i v e a cti o ns.

T h e p arti es d e v ot e u p t o 2 ( t w o) d a ys f or y o ur writt e n r es p o ns e b ef or e t his sit u ati o n is es c al at e d t o a
t hir d p art y t o i n cl u d e t h e m e di a, a n d t h e i n m at e a d v o c at es.

R. B ar n w ell , /R. B a r n w e l l

Pr esi d e nt, A F G E

L o c al 2 0 0 5 , C P L 3 3
